Case 1:14-ml-02570-RLY-TAB Document 22478
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                                                                                Aug 04, 2022
                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION
    _______________________________________
    IN RE: COOK MEDICAL, INC., IVC
    FILTERS MARKETING, SALES PRACTICES           Case No. 1:14-ml-2570-RLY-TAB
    AND PRODUCTS LIABILITY LITIGATION            MDL No. 2570
    _______________________________________

    This Document Relates to Plaintiff(s)

    Tyrone Hill, 1:18-cv-02166-SEB-TAB
    Timothy Sadowski, 1:18-cv-02591-SEB-DLP
    Valerie Hutson, 1:18-cv-01883-TWP-TAB
    Daniel Johancen, 1:18-cv-03397-SEB-DLP
    _______________________________________


                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

COMES NOW, Plaintiffs Tyrone Hill, Timothy Sadowski, Valerie Hutson, Daniel Johancen

(Plaintiffs”) and hereby provides notice, pursuant to ¶ 3 of Case Management Order 28 Screening

for Time-Barred Cases (CMO 28) and Fed. R. Civ. P. 41(a)(2), of the voluntary dismissal with

prejudice of the above-styled lawsuit as to defendants, Cook Incorporated, Cook Medical LLC and

William Cook Europe ApS (“Cook Defendants”). In accordance with CMO 28, each side will bear

its own costs and attorney’s fees.

Date: June 6, 2022

                                                  Respectfully submitted,

                                                   JOHNSON LAW GROUP

                                                   /s/ Basil E. Adham_______
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